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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MAXINE L. JOHNSON-HARRIS,

Plaintiff, 18 Civ, 4517 (NSR)

UNITED STATES OF AMERICA,

Defendant,

 

 

PRIVACY ACT ORDER AND PROTECTIVE ORDER CY) & (Cu) | \ Q |
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WHEREAS, Plaintiff Maxine L. Johnson-Harris brought the above-captioned action

 

against the United States of America, asserting claims under the Federal Tort Claims Act,

 

WHEREAS, certain records Plaintiff seeks or may seek in connection with the

allegations in the complaint may contain formation concerning various third parties which may

 

be protected by the Privacy Act of 1974, 51 a (the “Privacy Act”);

WHEREAS, pursuant to the provisions of Rule 26(c) of the Federal Rules of Civil
Procedure, the Court enters this Privacy Act Order and Protective Order, upon the joint request
of the parties, for the purposes of facilitating the disclosure of information that otherwise would
be prohibited from disclosure under the Privacy Act, and assuring the confidentiality of
information that may be disclosed by the parties or by any non-party agencies, departments, or
offices of the United States in the course of discovery proceedings. The Court, having found that

good cause exists for entry of this Privacy Act Order and Protective Order, HEREBY ORDERS:

this Order authorizes the United States Postal

 

Service (“USPS”) to produce information that otherwise would be prohibited from disclosure

 
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under the Privacy Act without presenting Privacy Act objections to this Court for a decision
regarding disclosure. To the extent the Privacy Act allows the disclosure of information
pursuant to a court order, this Order constitutes such a court order and authorizes the disclosure
of that information. Nothing in this paragraph, however, shall require production of information
that is prohibited from disclosure (even with the entry of this Order) by other applicable
privileges, statutes, regulations, or authorities. The terms of this Order shall govern the
safeguarding of such information by ail individuals referenced herein.

2. As used in this Order, the term “Protected Information” constitutes any and all
documents or records, and information contained therein, that contain any confidential,
proprietary, personal, or similar information, including but not limited to privileged law
enforcement information and information protected fromm disclosure by the Privacy Act.

3, Information that Plaintiff or the USPS deem Protected Information shall be
designated as such by stamping the phrase “Subject to Protective Order” on any document or
record containing Protected Information prior to the production of such document or record,

4, Any party who contests the designation of a document or record as Protected Information
shall provide the producing party written notice of its challenge. Ifthe parties cannot resolve this
dispute, they shail follow the Federal Rules of Civil Procedure, the Local Civil Rules for the United
States District Courts for the Southern and Eastern Districts of New York, the individual practices of the
Court, and/or any court orders for addressing discovery disputes. Failure to challenge a designation
immediately shall not waive a party’s ability to bring a later challenge.

5. Except as provided in this Order, all Protected Information produced or exchanged
pursuant to this Order shall be used solely for the purposes of this action and for no other purpose

whatsoever, and shall not be published to the general public in any form, or otherwise disclosed,
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disseminated, or transmitted to any person, entity, or organization, except in accordance with the terms
of this Order.

6. Any document or record designated as Protected Information may be disclosed only to
the following Qualified Persons to the extent the witnesses’ testimony may relate to documents
designated as Protected Information:

i. Defendant, attorneys for Defendant, and any support staff or other employees of
the Defendant or attorneys of record of Defendant who are assisting in the defense of this action, —

ib. Plaintiff, attorneys for Plaintiff, and any support staff or other employees of
Plaintiff or attorneys of record of Plaintiff who are assisting in the maintenance of this action;

iii. Witnesses who are deposed in this action, to the extent the witnesses’ testimony
may relate to documents designated as Protected Information;

iv. Experts or consultants retained for this action by counsel to a party, and any
support staff or other employees for such experts or consultants who are assisting in the expert’s work
for this action;

v. Court reporters or stenographers engaged to record deposition testimony,

and their employees who are assisting in the preparation of transcripts of such deposition

testimony;

vi. The Court and Court personnel; and

vil. Such other persons as hereafter may be authorized by the Court upon
motion of any party.

7, A copy of this Order shall be delivered to each Qualified Person to whom a

disclosure of Protected Information is made, at or before the time of disclosure, by the party

 
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making the disclosure or by its counsel. The provisions of this Order shall be binding upon each
such person to whom disclosure is made.

8. All Qualified Persons, including the parties and their respective counsel, to whom
Protected Information is disclosed, are hereby prohibited from disclosing information designated
as Protected Information to any unauthorized person, except as provided in this Order.

9. Any deposition questions intended to elicit testimony regarding Protected
Information shall be conducted only in the presence of persons authorized to review the
Protected Information. Any portions of deposition transcripts containing such questions and
testimony shall be automatically subject to the same protections and precautions as the Protected
Information.

10. If any party seeks to publicly file with the Court any Protected Information, or
portions of pleadings, motions, or other papers that disclose such Protected Information, that
party shall provide the producing person no less than ten days’ advance written notice of its
intent to file such material. The producing party may then make an application to the Court
requesting that the material be filed and kept under seal. If such an application is made, the
papers in question shall not be filed until the Court renders a decision on that application, The
parties will use their best efforts to minimize the need to file documents under seal.

11. Nothing in this Order shall preclude any disclosure of Protected Information to
any judge, magistrate, or employee of the Court for purposes of this action.

12. Nothing contained in this Order shall be construed to prejudice any party’s right
to use in open court any Protected Information, provided that reasonable notice of the potential

disclosure of the Protected Information shall be given to the producing party so that the

 
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producing party may move to seal the document, or otherwise seek to prevent the disclosure or
dissemination of the Protected Information, in advance of its use in open court.

13. If counsel for any party is required by law or court order to disclose, disseminate,
or transmit Protected Information produced under this Order to any person or entity not
identified herein as a Qualified Person, the name of that person or entity and the reason access is
required shall be provided to the producing party no less than 14 days prior to disclosure,
dissemination, or transmittal so as to provide the producing party sufficient time to object and |
seek a protective order as necessary. There shall be no disclosure after an objection has been
made until the objection has been resolved unless disclosure, dissemination, or transmission is
required sooner by law or court order. If Protected Information produced under this Order is
required by law or court order to be disclosed to a person or entity not identified herein as a
Qualified Person, the person or entity receiving the Protected Information shall, before receiving
the Protected Information, be provided with a copy of this Order and shall acknowledge their
agreement to comply with this Order by signing a copy of the attached acknowledgement form.
A copy of each such acknowledgement form roust be provided promptly after its execution to
counsel of record for the producing party.

14. Within thirty days after the final disposition of this action, including any and all
appeals, all Protected Information and copies thereof in the possession of any Qualified Persons,
other than counsel for the parties, shall be returned to the producing parties or destroyed. Ifthe
Protected Information is destroyed, the party that has destroyed the Protected Information shall
certify in writing to the producing party that the Protected Information in its possession has been

destroyed,
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15. If Plaintiff or Defendant inadvertently fails to designate material as Protected
Information at the time of production, this shall not in itself be deemed a waiver of any claim of
confidentiality as to that Protected Information. The producing party may correct its failure to
designate an item as Protected Information by taking reasonable steps to notify all receiving
persons of its failure, and by promptly supplying all receiving persons with new copies of any
documents bearing corrected designations. Within five business days of receiving copies of any
documents bearing corrected designations pursuant to this paragraph, the receiving persons shall
return or destroy the improperly designated materials, and certify in writing to the producing
party that such materials have been returned or destroyed.

16. This Order does not constitute any ruling on the question of whether any
particular document or category of information is properly discoverable, and does not constitute
any ruling on any potential objection to the discoverability, relevance, or admissibility of any
document or information.

17. Nothing in this Order shall be construed as a waiver of any defense, right,
objection, or claim by any party, including any objection to the production of documents and any
claim of privilege or other protection from disclosure.

18. Nothing in this Order shall affect the right of any party to seek additional
protection against the disclosure of any documents or materials, or of the parties to seek
additional disclosures.

19. | Nothing in this Order shall prevent the disclosure of Protected Information to
governmental authorities for purposes of enforcement of criminal laws or in furtherance of civil

enforcement or regulatory proceedings.

 
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20. Nothing in this Order shall prevent any disclosure of Protected Information by the

party or entity that designated the information as such,

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Dated: November 72019 Dated: November 29, 2019
White Plains, New York New York, New York
GEOFFREY S&S. BERMAN
United States Attorney for the
f Southepr District of New York
By: fu Hi By: . CZ .
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Pax: (914) 358-5379 Fax: (212) 637-2686
Counsel for Plaintiff Counsel for the United States af America
§O ORDERED:
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Dated; cl a1atb IG

White Plains, New York |

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MAXINE L. JOHNSON-HARRIS,

Plaintiff, . 18 Civ. 4517 (NSR)

UNITED STATES OF AMERICA,

Defendant.

 

 

ACKNOWLEDGEMENT
[ have read and I understand the Privacy Act Order and Protective Order entered by the
Court in the case Johnson-Harris v. United States, Case No. 18 Civ. 4517 (NSR), and I agree to

be bound by its terms.

Date:

 

Name (printed):

 

Signature:

 

 
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UNITED STATES DISTRICT couRT
SOUTHERN DISTRICT OF NEW YORK

IN THE MATTER OF RETENTION OF _
SEALED DOCUMENTS IN CIVIL CASES

  

MICHAEL B. MUKASEY, CHIEF JUDGE:

Any protective order in any civil case that provi
for the filing of information under seal shall include the
following provision:

"Sealed records which have been filed with the clerk shall
be removed by the party submitting them (1) within ninety
(90) days after a final decision is rendered if no appeal is

taken, or (2) if an appeal is taken, within thirty (30) days

after final disposition of the appeal. Parties failing to

comply with this order shall be notified by the clerk that,
should they fail to remove the sealed records within thirty
(30) days, the clerk may dispose of them."

This order will be self-executing, in that the Clerk

will treat all protective orders that direct the sealing of

documents in civil cases as if they contain the above provision.

‘Michaet 8. Mukasey,
U.S. District Judge

  

Dated: New York, New York
October 5, 2001

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